      Case: 1:21-cr-00698 Document #: 25 Filed: 01/14/22 Page 1 of 1 PageID #:93


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: USA v. Molo                                    Case Number: 21 CR 698


An appearance is hereby filed by the undersigned as attorney for:
Ronald Molo
Attorney name (type or print): Joshua B. Adams

Firm: Law Offices of Joshua B. Adams, P.C.

Street address: 900 W. Jackson Blvd., Suite 6 East

City/State/Zip: Chicago, IL 60607

Bar ID Number: 6281599                                     Telephone Number: 312-566-9173
(See item 3 in instructions)

Email Address: josh@adamsdefenselaw.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                  ✔ Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 1/14/2022

Attorney signature:            S/ Joshua B. Adams
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
